                      Case 4:21-mb-02912-LAB Document 3 Filed 06/17/22 Page 1 of 1


                                03/13)
                                                                                                                              LODGED
SEARCH WARRANT   RETURN (REv.
                                                                                                             FILED

                                                              RETURN
                                                                                                             Jun 17 2022
 Case No.:           21-02912MB
                                                                                                             CLERK U.S. DISTRICT COURT
                                                                                                                DISTRICT OF ARIZONA




 DATE WARRANT                                DATE AND TIME                  COPY OF WARRANT AND RECEIPT FOR
 RECEIVED                                    WARRANT EXECUTED               ITEMS LEFT WITH

                                            A~r;I 73, dOd.1   S:~O    An AflSe./"" Bo.ke_,
 INVENTORY MADE IN THE PRESENCE OF                        A   (13(.
                                                                      l ()
                                                                      0\
                                                                                I
                                                                           O~K(!.r


INVENTORY OF PERSON OR PROPERTY TAKEN PURSUANT TO THE WARRANT


  -     S~tylS(..fl)j                    G-o./o..xy A 10 e. ce./J          p hOfJ e.
 - !-I? nMloak 3510""                                     0./10(   pow~t'           crJro(




                                                       NOT EXECUTED
 o          This Warrant was Not Executed.
            (check this box if the warrant was never executed and leave the sections above blank.)


                                                        CERTIFICATION

   I declare under penalty of peIjury that this inventory is correct and was returned to the designated judge.


                                                                           c ;1((
                                                                           1;lcuting   Officer's Signature



                                                                           Printed Name and Title
